             Case 2:22-cv-00280-GW-AS Document 14 Filed 01/31/22 Page 1 of 2 Page ID #:368



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                   8                    UNITED STATES DISTRICT COURT
                   9                      CENTRAL DISTRICT OF CALIFORNIA
                     WHITNEY ALONDRA CHABELA,           Case No. CV 22-280-GW-ASx
                  10 an individual; DIANA VEGA, an
                     Individual,                        ORDER GRANTING STIPULATION
                  11                                    TO SUBMIT MATTER TO
                                  Plaintiffs,           ARBITRATION AND STAY
                  12                                    PROCEEDINGS
                           v.
                  13

                  14 AUTOZONERS LLC, a Limited            Complaint Filed: December 2, 2021
                     Liability Company; AUTOZONE          Trial Date:       None
                  15 DEVELOPMENT LLC, a Limited           District Judge: Hon. George H. Wu
                     Liability Company; and DOES 1-50,    Magistrate Judge: Hon. Alka Sagar
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                                Defendants.
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                                                                         Case No. 2:22-cv-00280-GHW-AS
49760571_1 docx                                    [PROPOSED] ORDER
             Case 2:22-cv-00280-GW-AS Document 14 Filed 01/31/22 Page 2 of 2 Page ID #:369



                   1                                            ORDER
                   2         The Court having reviewed the Stipulation to Submit Matter to Arbitration and
                   3   Stay Proceedings filed by Plaintiffs Whitney Alondra Chabela, Defendant Autozoners
                   4   LLC, and Defendant AutoZone Development LLC:
                   5         The Court finds, adjudges, and orders as follows:
                   6         1.     Plaintiff Whitney Alondra Chabela will submit her claims to final and
                   7   binding arbitration on an individual basis only, pursuant to the terms of the written
                   8   arbitration agreement entitled “Dispute Resolution 16.1.”
                   9         2.     Plaintiff Diana Vega will submit her claims to final and binding
                  10   arbitration on an individual basis only, pursuant to the terms of the written arbitration
                  11   agreement entitled “Dispute Resolution 16.1.”
                  12         3.     The above-captioned action is stayed pending the outcome of the
                  13   individual arbitration proceedings.
                  14

                  15   IT IS SO ORDERED.
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                  17   Dated: January 31, 2022                  _________________________________
                                                                HON. GEORGE H. WU,
                  18                                            U.S. DISTRICT JUDGE
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                                                                    1               Case No. 2:22-cv-00280-GHW-AS
                                                             [PROPOSED] ORDER
